08-01789-cgm     Doc 9878     Filed 04/27/15 Entered 04/27/15 14:48:22            Main Document
                                          Pg 1 of 3


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 for the Substantively Consolidated SIPA Liquidation
 of Bernard L. Madoff Investment Securities LLC
 and Estate of Bernard L. Madoff

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  SECURITIES INVESTOR PROTECTION
  CORPORATION,                                         No. 08-01789 (SMB)

                       Plaintiff-Applicant,            SIPA LIQUIDATION
                v.
                                                       (Substantively Consolidated)
  BERNARD L. MADOFF INVESTMENT
  SECURITIES LLC,

                       Defendant.

  In re:

  BERNARD L. MADOFF,

                        Debtor.

  IRVING H. PICARD, Trustee for the
  Liquidation of Bernard L. Madoff Investment
  Securities LLC,

                        Plaintiff,
                                                       Adv. Pro. No. 10-04407 (SMB)
                v.
  THE ESTATE OF SARAH E. PEARCE,
  NORTON S. ROSENSWEIG, LINDA
  ROSENSWEIG, DAVID B. PEARCE,
08-01789-cgm     Doc 9878      Filed 04/27/15 Entered 04/27/15 14:48:22          Main Document
                                           Pg 2 of 3


  JONATHAN P. ROSENSWEIG, JULIE
  SCHWARTZ, and LAURIE BLANK,

                         Defendants.




                  THIRD AMENDED CASE MANAGEMENT NOTICE

        PLEASE TAKE NOTICE, that pursuant to the Order (1) Establishing Litigation Case

 Management Procedures for Avoidance Actions and (2) Amending the February 16, 2010

 Protective Order (the “Order”) [Dkt. No. 3141] entered by the Bankruptcy Court in the above

 captioned SIPA liquidation, Adv. Pro. No. 08-01789 (SMB), on November 10, 2010, the

 following deadlines are hereby made applicable to this adversary proceeding:


 1.     The Initial Disclosures shall be due April 28, 2014.

 2.     Fact Discovery shall be completed by August 19, 2015.

 3.     The Disclosure of Case-in-Chief Experts shall be due October 21, 2015.

 4.     The Disclosure of Rebuttal Experts shall be due November 23, 2015.

 5.     The Deadline for Completion of Expert Discovery shall be February 22, 2016.

 6.     The Deadline for Service of a Notice of Mediation Referral shall be April 20, 2016.

 7.     The Deadline to Choose a Mediator and File a Notice of Mediator Selection shall be
 May 4, 2016.

 8.     The Deadline for Conclusion of Mediation shall be September 1, 2016.
08-01789-cgm   Doc 9878      Filed 04/27/15 Entered 04/27/15 14:48:22      Main Document
                                         Pg 3 of 3


 Dated: New York, New York                  BAKER & HOSTETLER LLP
        April 27, 2015
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                                            Securities LLC and for the Estate of Bernard
                                            L. Madoff
